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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MN THEATERS 2006 LLC,

                                   Plaintiff,                        20-cv-5860 (PKC)

                  -against-                                             ORDER



GRUPO CINEMEX, S.A. DE C.V.,

                                    Defendant.
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CASTEL, U.S.D.J.

                  For good cause shown, the amount subject to attachment is reduced to the amount

held in the DIP Escrow. Said funds shall remain in escrow rather than be delivered to the U.S.

Marshal. The levy is extended 45 days from the date of this Order, without prejudice to

defendant’s right to move to vacate, which may be filed at any time. The Court will consider all

other pending motions or applications at a teleconference scheduled for February 16, 2021 at

11:00 A.M. The call-in information for this teleconference is below.


                  Dial-in:         (888) 363-4749

                  Access Code: 3667981



                  SO ORDERED.



Dated: New York, New York
January 12, 2021
